     Case 18-55426-lrc                        Doc 16          Filed 04/04/18 Entered 04/05/18 01:42:48                                   Desc Imaged
                                                             Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1                   Larry Donnell Dorsey                                                         Social Security number or ITIN   xxx−xx−0408

                           First Name     Middle Name       Last Name                                   EIN   _ _−_ _ _ _ _ _ _
Debtor 2                   Bernice Dorsey                                                               Social Security number or ITIN   xxx−xx−4237
(Spouse, if filing)
                           First Name     Middle Name       Last Name                                   EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia
Court website: www.ganb.uscourts.gov                                                                    Date case filed for chapter 13 3/30/18

Case number:          18−55426−lrc



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                      12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish
wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by
mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain
circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. (See line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access charges may apply. A free automated response system
is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document filed
with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a
Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the
court.

                                                        About Debtor 1:                                            About Debtor 2:
1. Debtor's full name                                   Larry Donnell Dorsey                                       Bernice Dorsey

2. All other names used in the
   last 8 years
                                                                                                                   aka Bernice James

                                                        4085 Pineset Drive                                         4085 Pineset Drive
3. Address                                              Alpharetta, GA 30022                                       Alpharetta, GA 30022
                                                        Howard P. Slomka                                         Contact phone (404) 800−4001
     Debtor's attorney                                  Slipakoff & Slomka, PC
4.                                                      Overlook III − Suite 1700
     Name and address                                   2859 Paces Ferry Rd, SE                                  Email: se@myatllaw.com
                                                        Atlanta, GA 30339

5. Bankruptcy trustee                                   Melissa J. Davey                                           Contact phone (678) 510−1444
                                                        Melissa J. Davey, Standing Ch 13 Trustee                   www.13trusteeatlanta.net
                                                        Suite 200
     Name and address                                   260 Peachtree Street, NW
                                                        Atlanta, GA 30303

6. Bankruptcy clerk's office                            M. Regina Thomas                                           Office Hours: 8:00 a.m. − 4:00 p.m.
                                                        Clerk of Court                                             Court website: www.ganb.uscourts.gov
     Documents in this case may be filed
     at this address. You may inspect all               1340 United States Courthouse
     records filed in this case at this                 75 Ted Turner Drive SW                                     Contact phone 404−215−1000
     office or online at www.pacer.gov.                 Atlanta, GA 30303

                                                                                                                          For more information, see page 2




Official Form 309I (For Individuals or Joint Debtors)            Notice of Chapter 13 Bankruptcy Case                                            page 1
   Case 18-55426-lrc                          Doc 16           Filed 04/04/18 Entered 04/05/18 01:42:48                                       Desc Imaged
                                                              Certificate of Notice Page 2 of 4
Debtor Larry Donnell Dorsey and Bernice Dorsey                                                                                                  Case number 18−55426−lrc

7. Meeting of creditors                             May 15, 2018 at 09:00 AM                                              Location:
                                                                                                                          Third Floor − Room 368, Russell Federal
                                                                                                                          Building, 75 Ted Turner Drive SW, Atlanta, GA
    Debtors must attend the meeting to              The meeting may be continued or adjourned to a later date. If so, the 30303
    be questioned under oath. In a joint            date will be on the court docket.
    case, both spouses must attend.
    Bring a copy of this notice with                TO THE DEBTOR: Bring an original government issued photo ID
    you. Creditors may attend, but are              and confirmation of social security number. Provide the Trustee a
    not required to do so. Cellular                 copy of your most recently filed tax return seven days prior to the
    phones and other devices with                   meeting, but DO NOT FILE WITH THE COURT.
    cameras are not allowed in the
    building.
                                                    TO OTHER PARTIES: Objections to confirmation must be filed and
                                                    served in accordance with FRBP 3015 at least seven days before the
                                                    date set for the confirmation hearing.
8. Deadlines                                        Deadline to file a complaint to challenge                                  Filing deadline: 7/16/18
                                                    dischargeability of certain debts: You must file:
    The bankruptcy clerk's office must              •      a motion if you assert that the debtors are
    receive these documents and any                        not entitled to receive a discharge under
    required filing fee by the following                   U.S.C. § 1328(f) or
    deadlines.                                      •      a complaint if you want to have a particular
                                                           debt excepted from discharge under
                                                           11 U.S.C. § 523(a)(2) or (4).
                                                    Deadline for all creditors to file a proof of claim                        Filing deadline: 6/8/18
                                                    (except governmental units):
                                                    Deadline for governmental units to file a proof of                         Filing deadline: 9/26/18
                                                    claim:


                                                    Deadlines for filing proof of claim:
                                                        A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                                        www.uscourts.gov or any bankruptcy clerk's office.

                                                    To file a claim electronically, visit www.ganb.uscourts.gov and access the ePOC tab.
                                                    If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                                    proof of claim even if your claim is listed in the plan or schedules filed by the debtor.
                                                    Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                    claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                                    example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                                    right to a jury trial.


                                                    Deadline to object to exemptions:                                          Filing deadline:    30 days after the
                                                    The law permits debtors to keep certain property as exempt. If you                             conclusion of the
                                                    believe that the law does not authorize an exemption claimed, you                              meeting of creditors
                                                    may file an objection.

9. Filing of Plan, Hearing on                       Debtor's counsel is responsible for mailing the plan if not filed contemporaneously with the petition.
   Confirmation of Plan,                            The hearing on confirmation will be held: Date: 6/19/18,         Time: 09:30 AM,   Location: Courtroom 1204,
   Allowance and Approval of                        Russell Federal Building, 75 Ted Turner Drive SW, Atlanta, GA 30303
   Debtor's Counsel Attorneys
   Fees
10. Creditors with a foreign                        If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to extend
    address                                         the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions
                                                    about your rights in this case.
11. Filing a chapter 13                             Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts according
    bankruptcy case                                 to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the plan and appear
                                                    at the confirmation hearing. The debtor will remain in possession of the property and may continue to operate the
                                                    business, if any, unless the court orders otherwise.
12. Exempt property                                 The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed to
                                                    creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt. You
                                                    may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not
                                                    authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                              Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                    However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan are
                                                    made. A discharge means that creditors may never try to collect the debt from the debtors personally except as
                                                    provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or
                                                    (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe
                                                    that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you must file a
                                                    motion.




Official Form 309I (For Individuals or Joint Debtors)             Notice of Chapter 13 Bankruptcy Case                                                    page 2
      Case 18-55426-lrc        Doc 16    Filed 04/04/18 Entered 04/05/18 01:42:48             Desc Imaged
                                        Certificate of Notice Page 3 of 4
                                      United States Bankruptcy Court
                                      Northern District of Georgia
In re:                                                                                  Case No. 18-55426-lrc
Larry Donnell Dorsey                                                                    Chapter 13
Bernice Dorsey
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 113E-9           User: avilesj                Page 1 of 2                   Date Rcvd: Apr 02, 2018
                               Form ID: 309i                Total Noticed: 30


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 04, 2018.
db/jtdb        +Larry Donnell Dorsey,    Bernice Dorsey,    4085 Pineset Drive,    Alpharetta, GA 30022-7039
21442886       +Ashley Furniture,    2900 Stonecrest Cir,    Lithonia, GA 30038-2690
21442893       +Enhanced Recovery Company Corp,     8014 Bayberry Road,    Jacksonville, FL 32256-7412
21442894       +Fair Collections,    12304 Baltimore Ave., Unit E,     Beltsville, MD 20705-1314
21442895       +Fed Loan Serv,    Po Box 60610,    Harrisburg, PA 17106-0610
21442907       +Manish Sanjanwala,    3655 North Point Parkway,     Ste 675,   Alpharetta, GA 30005-2073
21442908      #+Nationwide Southeast L,     3675 Crestwood Pkwy Nw,    Duluth, GA 30096-5054
21442909        Peak Acceptance,    PO Box 2945,    Canyon, TX 79015
21442913        U S Dept Of Ed/Gsl/Atl,     Po Box 4222,   Iowa City, IA 52244
21442914       +United Auto Credit Co,    1071 Camelback St Ste 10,     Newport Beach, CA 92660-3046
21442915        Us Dept Ed,    Po Box 4222,    Iowa City, IA 52244
21442916       +Verizon Wireless,    Po Box 650051,    Dallas, TX 75265-0051

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: se@myatllaw.com Apr 02 2018 21:50:27        Howard P. Slomka,
                 Slipakoff & Slomka, PC,    Overlook III - Suite 1700,     2859 Paces Ferry Rd, SE,
                 Atlanta, GA 30339
tr             +E-mail/Text: bnc@13trusteeatlanta.com Apr 02 2018 21:53:42        Melissa J. Davey,
                 Melissa J. Davey, Standing Ch 13 Trustee,     Suite 200,    260 Peachtree Street, NW,
                 Atlanta, GA 30303-1236
cr             +EDI: RMSC.COM Apr 03 2018 01:18:00      Synchrony Bank,     c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
21442885        EDI: AFNIRECOVERY.COM Apr 03 2018 01:18:00       AFNI,    404 Brock Drive,    PO Box 3517,
                 Bloomington, IL 61702-3517
21442884       +E-mail/Text: bankruptcy@rentacenter.com Apr 02 2018 21:53:25        Acceptance Now,
                 5501 Headquarters Drive,    Plano, TX 75024-5837
21442887       +EDI: CAPONEAUTO.COM Apr 03 2018 01:19:00       Capital One Auto Finan,     3901 Dallas Pkwy,
                 Plano, TX 75093-7864
21442888       +EDI: CAPITALONE.COM Apr 03 2018 01:18:00       Capital One Bank NA,    Po Box 30281,
                 Salt Lake City, UT 84130-0281
21442889        EDI: CONVERGENT.COM Apr 03 2018 01:19:00       Convergent Outsorcing, Inc.,
                 Post Office Box 9004,    Renton, WA 98057-9004
21442890       +EDI: RCSFNBMARIN.COM Apr 03 2018 01:18:00       Credit One Bank Na,    Po Box 98875,
                 Las Vegas, NV 89193-8875
21442891       +EDI: NAVIENTFKASMDOE.COM Apr 03 2018 01:19:00        Dpt Ed/slm,   Po Box 9635,
                 Wilkes Barre, PA 18773-9635
21442904        EDI: GADEPTOFREV.COM Apr 03 2018 01:18:00       Georgia Department of Revenue,
                 1800 Century Blvd,    Suite 17200,   Atlanta, GA 30345
21442905       +EDI: IIC9.COM Apr 03 2018 01:19:00      I C System Inc,     Po Box 64378,
                 Saint Paul, MN 55164-0378
21442906        EDI: IRS.COM Apr 03 2018 01:19:00      IRS,    401 W Peachtree Street NW,     Atlanta, GA 30308
21444957       +EDI: PRA.COM Apr 03 2018 01:18:00      PRA Receivables Management, LLC,      PO Box 41021,
                 Norfolk, VA 23541-1021
21442910       +E-mail/Text: legal@gosafco.com Apr 02 2018 21:50:40        Safco,   6300 Hazeltine National Dr,
                 Orlando, FL 32822-5109
21442912        EDI: AISTMBL.COM Apr 03 2018 01:18:00       TMobile,    PO Box 742596,    Cincinnati, OH 45274-2596
21448540       +E-mail/Text: usagan.bk@usdoj.gov Apr 02 2018 21:51:39        U. S. Attorney,
                 600 Richard B. Russell Bldg.,    75 Ted Turner Drive, SW,     Atlanta GA 30303-3315
21442917       +EDI: WFFC.COM Apr 03 2018 01:18:00      Wells Fargo Bank,     Po Box 14517,
                 Des Moines, IA 50306-3517
                                                                                                TOTAL: 18

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
21442892*       +Dpt Ed/slm,    Po Box 9635,   Wilkes Barre, PA 18773-9635
21442896*       +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21442897*       +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21442898*       +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21442899*       +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21442900*       +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21442901*       +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21442902*       +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21442903*       +Fed Loan Serv,    Po Box 60610,   Harrisburg, PA 17106-0610
21442911*       +Safco,   6300 Hazeltine National Dr,    Orlando, FL 32822-5109
                                                                                              TOTALS: 0, * 10, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
        Case 18-55426-lrc            Doc 16      Filed 04/04/18 Entered 04/05/18 01:42:48                          Desc Imaged
                                                Certificate of Notice Page 4 of 4


District/off: 113E-9                  User: avilesj                      Page 2 of 2                          Date Rcvd: Apr 02, 2018
                                      Form ID: 309i                      Total Noticed: 30


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 04, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 2, 2018 at the address(es) listed below:
              Howard P. Slomka   on behalf of Joint Debtor Bernice Dorsey se@myatllaw.com,
               myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;SlomkaTR74
               878@notify.bestcase.com
              Howard P. Slomka   on behalf of Debtor Larry Donnell Dorsey se@myatllaw.com,
               myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;SlomkaTR74
               878@notify.bestcase.com
              Melissa J. Davey   mail@13trusteeatlanta.com,
               cdsummary@13trusteeatlanta.com;cdbackup@13trusteeatlanta.com
                                                                                            TOTAL: 3
